                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

IN RE:                                           )
                                                 )
Martin J. Smith,                                 )    CASE NO. 14-80263-CRJ11
SSN: xxx-xx-4349                                 )
Lauri B. Smith,                                  )
SSN: xxx-xx-7886                                 )
                                                 )
         Debtors.                                )    CHAPTER 11

  BANKRUPTCY ADMINISTRATOR'S RECOMMENDATION CONCERNING THE
    APPLICATION BY DEBTOR FOR AUTHORITY TO RETAIN REAL ESTATE
                             BROKER

        COMES NOW the United States Bankruptcy Administrator for the Northern District of
Alabama, by and through the undersigned counsel of record, and regarding the application to
retain a Real Estate Broker filed by the Debtors, states as follows:

        1. The Bankruptcy Administrator, has reviewed the Debtors’ application to employ Laura
Duncan Fuller of RE/Max Unlimited as Real Estate Broker pursuant to 11 U.S.C. § 327.
Although the Bankruptcy Administrator has no objection to the Debtors retaining a real estate
broker to assist the Debtors in the post-confirmation actions described in the application, court
approval may not be necessary or authorized by 11 U.S.C. § 327.

       2. The Debtors’ Plan of Reorganization was confirmed by this Court on November 12,
2014 and the “effective date” under the plan occurred on or about November 26, 2014.
Therefore, pursuant to 11 U.S.C. § 1141(b) property of the estate has vested in the Debtors.

       3. The Debtors are no longer operating as “debtors-in-possession” as recited in their
Application to employ a Real Estate Broker, but are now the Reorganized Debtors. Therefore,
the Debtors do not have standing to seek employment of a professional under 11 U.S.C. § 327.

        WHEREFORE, these premises considered, the Bankruptcy Administrator does not object
to the Debtors retaining a real estate broker to assist them post-confirmation in carrying out their
Plan, but approval under 11 U.S.C. § 327 is not appropriate.

         Respectfully submitted this 15th day of December, 2017.

                                              J. THOMAS CORBETT
                                              United States Bankruptcy Administrator for the
                                              Northern District of Alabama

                                              BY:     /s/ Richard M. Blythe
                                                      Richard M. Blythe
                                                      Assistant U.S. Bankruptcy Administrator
                                                      Alabama. Bar ID: ASB-3199-B52R

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                                CERTIFICATE OF SERVICE

        I hereby certify that on 2 August 2019, I have served a copy of the foregoing on the
parties listed below by depositing the same in the United States Mail, postage prepaid and
properly addressed, or if the party being served is a registered participant in the CM/ECF System
for the United States Bankruptcy Court for the Northern District of Alabama, service has been
made by a "Notice of Electronic Filing" pursuant to FRBP 9036 in accordance with subparagraph
II.B.4. of the Court's Administrative Procedures.

S Mitchell Howie, Esq., attorney for Debtor, via CM/ECF electronic service
mitch@huntsvillelaw.info

                                            /s/ Richard M. Blythe
                                            Richard M. Blythe
                                            Assistant U.S. Bankruptcy Administrator




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